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3. MAG. DKT./DEF. NUMBER 4. DIST. DKTJDEF. NUMBER 5. APPEALS DKT.»'DEF. NUMBER 6. OTHER DKT. N'UMBER
1:03-010055-001 ’
7. [N CASE/MATTER OF (Ciue Name} il. PAYMENT CATEGORY 9. TYPE PERSON REPRESENTED 10. REPRESEN'I`ATION TYPE
U.S. v. Clay'ton Other Adult Defendant S(i:;é;i/ui?scgani){elease

 

 

ll. OFFENSE(S) CH ARGED (Ci¢e U.S. Code, Tille & Ser.'t|on) Il' more than one offense, list(np to five) major ofl'imu charged,accorrling to severity ofoi'fense.

 

 

12. ATTORNEY'S NAME gFirsI Name, M.l., Li¢s¢ Name, including anyauffax] 13. COURT ORDER
ANDMA.[LING ADDRE 5 - § 0 Appointing Counsel i:i C Co-Couri.;el
MADDOX, MATTHEW [] F Suhs For FederalDefender m R Suba ForRetairied Attorney
P 0 BOX 827 [l P Subl ForI’ane|Auorney |:i V Sundhy Cuuns,]
H| {\ "_[‘INGDON TN 38344 PriorAttorney's Name:
Appointmen| Date:

§ Because the above~l\amed person represented has testified under oath or has
otherwise satisfied this court that lie or she [1] i.s financially unable to employ coinsel and
(2} does not wish to waive counsel, and because the ` ofjlisiire ao require, the
attorney whose name appears in item 11 ia a nted to repreentthis person in this rase,

'l`elephone Niimher:
14. NAME AND MAILING ADDRESS OF LAW FI'RM {nnly provide per inatriicn'ona)

    

 

 

MADDOX, MADDOX, MADDOX 5 fM-<__§¢ -= ='"=)
_P:'_C_)”'_ §_C_)_)_( 827 Signature of Pr£:i_irME-igomeer or By Order of the Coi'irt
HUNTINGTON TN 38344 Date ofOrder Nuni: pro Tunc Dal.e

Repay'ment orpa rdiil repayment ordered from the person represented for thin s ervice at

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

   
 
  
   
 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 
  

 

 

 

   

 

 

 

 

 

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( ’ cLAJMED HOURS AMOUNT REvu~:w
15. a. Arraignment and/or Plea
b. Baif and Detention Hearings
c. Moti'on Hearings \
1'1 d. Triai _/ '
C e. Sentencing Hcariiigs 2 m
§ f. Revocatlon Heari'ngii m '§`_Q
tr g. Appeals Court »-c, m
h. other (specii'y on additional sheers) c “<
(Riite per hour = 5 ) 'I`OTALS:
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16. a. Interviews and Confereiices 3'.’ 3
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ii b. Obtaiii.ing and reviewing records £_.I_'!
0 c. Legal research and brief writing o 52
f W ‘.‘ r
C d. Travel time
§ e. Investigative and Other work {spe¢iiy on mdi¢inrnliheeo)
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1 (Rate per liuur = 5 ) TOTALS:
i'-. Tr'.a‘-'el E.xp emi-s (iodgio;. parking meals` mileage et:.)
IR 1 Other Exp enses (other than experi, transcripts ete)
. .
19. CER TIFICA']ION OF ATTORNEY/PAYEE FOR THE PERIOD 0 F SERVICE 20. APPO]NTMENT TERMINAT|ON DATE 21. CASE DISPO SITION
IF OTHER THAN CASE COMPLETION
FROM TO _l.._________
22. CLAIM STATUS Ci Fina|Paynienl U Iriterim Payment Niiniber ______ i:i Snpplementoi Poymeni
Have you previously applied to the court fir compensation andi'or reinimiiursement for this ease? g YES ij NO Il’yeo, were you paid? m YES [:i NO
Other than from the couri, have you, or toyour knowledge has anyone el.ie, received payment (compenaah'nn or anything or value) from any other source in connection with Ih`u
i'epresentat.inn.” ij YES [:i NO Il' yel, give details on additional aheer_i.

1 swear or affirm the truth or correctnss oftlie above statements.

S`ignature of Attnrlley

 

 

 

 

  
     

 

25. TRAVELEXPENSES 26. OTHER EX}’ENSES 17. TUFALAMT.APPRICERT

 

 

 

 

 

23. l'N COURT COMP. 24. OUT OF COURT COMP.
28. SIGNATURE OF THE PRESI'DING J"UDICIAL OFFICER DATE 28a. JUDGE i' MAG. JUDGE CODE
29. IN COURT COMP. 30. OUT OF COURT COMP. 31. TRAVEL EXPENSES 32. OTHER EXPENSES 33. TOTAL AMT,APPRUVED
\
J4. SIGNATU'RE OF CHIEF JUDGE, COU'RT OF APP EALS (OR DELEGATE) Piiy'ment DATE - 34a. JUDGE CODE

approved in excess of the statutory threshold amountl

 

 

 

 

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This notice confirms a copy of the document docketed as number 26 in
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Victor Lee Ivy

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P.O. Box 827

Huntingdon, TN 38344

Honorable J ames Todd
US DISTRICT COURT

